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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JOHN DOE,
                                Plaintiff,

                         -against-

 DADDY’S HOUSE RECORDINGS INC., CE
 OPCO, LLC d/b/a COMBS GLOBAL f/k/a COMBS                  Case No. 1:24-cv-07778 (JLR)
 ENTERPRISES LLC, BAD BOY
                                                               MEMORANDUM
 ENTERTAINMENT HOLDINGS, INC., BAD BOY
 PRODUCTIONS HOLDINGS, INC., BAD BOY                         OPINION AND ORDER
 BOOKS HOLDINGS, INC., BAD BOY
 ENTERTAINMENT LLC, BAD BOY
 PRODUCTIONS LLC, and ORGANIZATIONAL
 DOES 1-10,
                                Defendants.


JENNIFER L. ROCHON, United States District Judge:

       Plaintiff John Doe, proceeding anonymously, brings this action pursuant to the New

York City Victims of Gender-Motivated Violence Protection Law (“VGMVPL”), N.Y.C.

Admin. Code § 10-1101 et seq. See generally Dkt. 1 (“Complaint” or “Compl.”). Defendants

have moved to dismiss the Complaint. See Dkt. 47. The parties now move for a stay of this

action during the pendency of two appeals before the Second Circuit: Parker v. Alexander,

No. 25-487 (2d Cir. filed Mar. 3, 2025), and Doe v. Black, No. 25-564 (2d Cir. filed Mar. 11,

2025). See Dkt. 72; see also Order, Black, No. 25-564 (2d Cir. Apr. 16, 2026), ECF No. 46.1

(directing Parker and Black to be heard in tandem). For the reasons that follow, the Court

grants the parties’ request.

       In Parker and Black, the Second Circuit is expected to address a question raised in the

instant case: whether the VGMVPL is preempted by the New York Child Victims Act

(“CVA”), id. § 214-g, and Adult Survivor’s Act (“ASA”), N.Y. C.P.L.R. § 214-j. See Brief

and Special Appendix for Plaintiff-Appellant, Parker, No. 25-487 (2d Cir. Apr. 23, 2025),
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ECF No. 23.1. The CVA and ASA — enacted in 2019 and 2022, respectively — established

revival windows for adult victims of sexual offenses and adult survivors of child sexual

offenses to file otherwise time-barred claims. See N.Y. C.P.L.R. §§ 214-g, 214-j. In 2022,

prior to the enactment of the ASA, New York City Council amended the City’s VGMVPL to

create a revival window for victims of gender-motivated violence. See N.Y.C. Admin. Code §

10-1105. The district court in Black held that the VGMVPL is not preempted by either the

CVA or ASA, whereas the district court in Parker held that it is preempted by both —

accordingly, the VGMVPL claim in Black survived dismissal while the VGMVPL claim in

Parker was dismissed as untimely. See Black, 2024 WL 4335453, at *1, *7 (S.D.N.Y. Sept.

27, 2024); Parker, No. 24-cv-04813 (LAK), 2025 WL 268436, at *5 (S.D.N.Y. Jan. 22,

2025). In the instant case, Defendants seek dismissal of the Complaint based on the same

preemption argument that was rejected in Parker but accepted in Black. See Dkt. 49 at 6-10.

        “[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself,

for counsel, and for litigants.” Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83, 96

(2d Cir. 2012) (alteration in original) (quoting Landis v. N. Am. Co., 299 U.S. 248, 254

(1936)). “Court generally consider five factors in determining whether to stay a proceeding,

including: (1) the private interests of the plaintiffs in proceeding expeditiously with the civil

litigation as balanced against the prejudice to the plaintiffs if delayed; (2) the private interests

of and burden on the defendants; (3) the interests of the courts; (4) the interests of persons not

parties to the civil litigation; and (5) the public interest.” Radosti v. Hudson’s Bay Co., No.

18-cv-12266 (VSB), 2020 WL 13369046, at *1 (S.D.N.Y. Sept. 29, 2020) (quoting Fagan v.

Republic of Austria, No. 08-cv-06715 (LTS) (JCF), 2009 WL 1423338, at *4 (S.D.N.Y. May

19, 2009)). “[T]he first and second factors are the ‘most critical.’” Schiller-Egles v.


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PromptCare Cos., Inc., No. 23-cv-06790 (KMK), 2025 WL 904331, at *11 (S.D.N.Y. Mar.

25, 2025) (quoting Gabay v. Roadway Movers, Inc., No. 22-cv-06901, 2023 WL 3569351, at

*1 (S.D.N.Y. May 19, 2023)).

       The Court will grant the requested stay here primarily because both parties seek the

stay. “The Second Circuit’s decision . . . could contain guidance that ‘would allow this

litigation to proceed on a reasonable and efficient basis.’” Addi v. Int’l Bus. Machs., Inc.,

No. 23-cv-05203 (NSR), 2024 WL 2802863, at *5 (S.D.N.Y. May 31, 2024) (quoting Lamb v.

Forbes Media LLC, No. 22-cv-06319 (ALC), 2024 WL 1364678, at *2 (S.D.N.Y. Apr. 1,

2024)). The parties, all of whom consent to the stay, “stand to benefit from gaining clarity on

the scope of the [VGMVPL] before engaging in potentially expensive — and uncertain —

litigation.” Doe v. Alexander, No. 25-cv-01631 (JAV), 2025 WL 1384786, at *1 (S.D.N.Y.

Apr. 25, 2025) (alteration in original) (quoting Leslie v. Thompson Reuters Corp., No. 22-cv-

07936 (JHR), 2023 WL 6173511, at *2 (S.D.N.Y. Sept. 22, 2023)). Otherwise, the Court

risks ruling at odds with the Second Circuit’s decision and delaying resolution of the action

further. Id. “Under these circumstances, staying the case would also preserve judicial

resources, which serves the interests of the courts and the public.” Pry v. Auto-Chlor Sys.,

LLC, No. 23-cv-04541, 2024 WL 3728981, at *2 (S.D.N.Y. Aug. 8, 2024).




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          For these reasons, the Court GRANTS the parties’ joint request to stay this case

pending the resolution of the appeals in Parker and Black. The parties shall file a joint status

letter with the Court no later than August 14, 2025, and every ninety (90) days thereafter. The

Clerk of Court is respectfully directed to terminate the motion at Dkt. 72 and mark this case as

stayed.

Dated: May 16, 2025
       New York, New York

                                                           SO ORDERED.



                                                           JENNIFER L. ROCHON
                                                           United States District Judge




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